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 CONSENT TO BECOME PARTY PLAINTIFF
 '==~=J\ EJ.::6:::.~it
 l§n l§:b: 1~=~ J ,EJ, i=




        By my signature below, I hereby authorize the filing and prosecution of claims in my name
 and on my behalf to contest the failure of DEFENDANT(S), EMPLOYER

                            ~T~ft*. ft~~#mM~ft~~~ft*ft$~~R~-*~~
                                            MayFlower
 to pay me overtime wages andjor minimum wages as required under state and/or federal law
 including the Fair Labor Standards Act and also authorize the filing ofthis consent in the action(s)
 challenging such conduct.




  Duan, Yuan Yuan

  PARTY PLAINTIFF




  Date
  BM




                                        Page 6 of6                   Initials - - - - - -
